
’Turney, J.,
delivered the opinion of the Court.
There is error in the record. This suit was commenced before a Justice of the Peace for Grainger 'County, by the plaintiff in error, against the defendant an error, for forcibly taking and converting to his use a bay mare mule, the property of the plaintiff. There •was an appeal from the judgment of the magistrate to the Circuit Court, when there were verdict and judgment for the defendant, and an appeal to this Court.
There is only one question raised by the record, necessary to be noticed. On the trial in the Circuit Court, the defendant was permitted to prove, over the objection of the plaintiff, “that plaintiff was a rebel, and had aided and abetted in the rebellion; that plaintiff was always considered a rebel, and Confederate sol*197diers frequently stopped at his house to feed,” &amp;c., and that defendant was a XJnion man. This was error.* The political faith of a party has no pertinence to the issue, more than have his peculiar views upon religion. This fact is incapable of affording any reasonable presumption or inference as to the principal fact or matter in dispute, and tended to draw away the minds of the jury, and mislead them.
Judgment reversed and remanded.

See Smith v. Cottrell, infra; Smith v. Brazelton, ante p. 44; Ellis v. Spurgin, ante p. 74; Hart v. Reynolds, post p.208; Swaggerty v. Caton, post p. 199.

